431 F.2d 707
    Donald P. CAILLOUET, Plaintiff-Appellant,v.LYKES BROS. STEAMSHIP CO., Inc., et al., Defendants-Appellees.
    No. 25717Summary Calendar*Rule 18, 5th Cir., See Isbell Enterprises, Incv.Citizens Casualty Co. of New York, et al., 5th Cir., 1970,
    
      431 F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Sept. 14, 1970,Rehearing Denied Oct. 14, 1970.
      Eldon E. Fallon, New Orleans, La., for appellant.
      Edward S. Bagley, New Orleans, La., Terriberry, Carroll, Yancey &amp; Farrell, New Orleans, La., on the brief, for Lykes Bros. Steamship Co., Inc.
      Richard J. Meunier, New Orleans, La., Meunier, Martin &amp; Meunier, New Orleans, La., on the brief, for Gibbs &amp; Cox, Inc.
      Donald L. King New Orleans, La., for intervenor.
      Before WISDOM, THORNBERRY and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      This admiralty case arose when plaintiff-appellant fell while descending a hatch ladder of the vessel on which he was working.  At the time, it was raining and plaintiff-appellant was carrying a thermos of coffee on the little finger of his left hand by the ring of the cup attached to the thermos bottle.  He claimed that the fall was caused by the negligent design of the hatch ladder.
    
    
      2
      At the conclusion of plaintiff's evidence, the district court granted a motion to dismiss the claim, finding that neither negligent design nor causal relation had been shown.  After reviewing the record, we find that we are in agreement with the district judge's conclusion that plaintiff failed to show a causal connection between his fall and any alleged design in the ladder.  It is therefore unnecessary for us to consider further whether there was any negligence in the design.  We affirm.
    
    